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                                               and MERIL, INC.
                                          15

                                          16                                     UNITED STATES DISTRICT COURT

                                          17                                 NORTHERN DISTRICT OF CALIFORNIA

                                          18                                          OAKLAND DIVISION

                                          19

                                          20   EDWARDS LIFESCIENCES CORPORATION, a               Case No.: 4:19-cv-06593-HSG
                                               Delaware Corporation; EDWARDS
                                          21   LIFESCIENCES LLC, a Delaware Limited              REQUEST FOR JUDICIAL NOTICE IN
                                               Liability Company,                                SUPPORT OF MOTION OF MERIL
                                          22                                                     LIFE SCIENCES PVT. LTD. AND
                                                                   Plaintiffs,                   MERIL, INC. TO DISMISS PURSUANT
                                          23                                                     TO RULE 12(C)
                                                       v.
                                          24
                                               MERIL LIFE SCIENCES PVT. LTD., and
                                          25   MERIL, INC.,

                                          26                       Defendants.

                                          27

                                          28

                                               REQUEST FOR JUDICIAL NOTICE                                    CASE NO.: 4:19-CV-06593-HSG
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                                           1            Meril Life Sciences Pvt. Ltd. and Meril, Inc. (collectively “Meril”) hereby request that the

                                           2   Court take judicial notice of the following materials under Federal Rule of Evidence 201:

                                           3            1.     Exhibits 1A-1P to the Declaration of Melanie Mayer (“Mayer Declaration”) are

                                           4   true and correct copies of all fifteen 510(k) Premarket Notification database entries, and a results

                                           5   page, from the U.S. Food and Drug Administration (the “FDA”) website related to Meril’s

                                           6   medical devices.

                                           7            2.     Exhibit 2 to the Mayer Declaration is a true and correct copy of a publicly

                                           8   accessible FDA webpage which describes the Premarket Notification 510(k) process.

                                           9            3.     Exhibit 3 to the Mayer Declaration is a true and correct copy of

                                          10   http://www.myval.com/about-meril, a publicly accessible webpage describing Meril’s

                                          11   operations, incorporated into the First Amended Complaint (Dkt. 51) (“FAC”) ¶ 45.

                                          12            4.     Exhibit 4 to the Mayer Declaration is a true and correct copy of Dr. Ashok Seth’s
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                                          13   presentation on the Myval 30-patient study from the 2018 TCT conference, which Plaintiff’s

                                          14   FAC references and relies on and which was produced in this case with Bates Nos.

                                          15   MERIL00002381-2400.

                                          16            5.     Exhibit 5 to the Mayer Declaration is a true and correct copy of Dr. Ashok Seth’s

                                          17   publicly available presentation on Myval 30-patient study from the 2019 EuroPCR conference,

                                          18   available at http://www.crtonline.org/presentation-detail/one-year-clinical-outcomes-of-india-s-

                                          19   first-indige, which Plaintiff’s FAC references and relies on and which was produced in this case

                                          20   with Bates Nos. MERIL00002358-2380.

                                          21            6.     Exhibit 6 to the Mayer Declaration contains true and correct copies of dictionary

                                          22   definitions for the words “accredit”/“accreditation” and “indigenous” from the 11th edition of the

                                          23   Merriam-Webster Dictionary (2019).

                                          24   I.       MEMORANDUM OF POINTS AND AUTHORITIES

                                          25            On a Rule 12(c) motion, a court may consider “documents referenced extensively in the

                                          26   complaint, documents that form the basis of plaintiff’s claims, and matters of judicial notice when

                                          27   determining whether the allegations of the complaint state a claim upon which relief can be

                                          28   granted.” O’Connor v. Uber Techs., Inc., 58 F. Supp. 3d 989, 995 (N.D. Cal. 2014) (internal

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                                           1   citations omitted). The Court may consider each of the identified documents for the reasons

                                           2   described below.

                                           3          A. The Court may take judicial notice of publicly available websites.

                                           4          Generally, “websites and their contents,” and “government agency websites” “and their

                                           5   contents [in particular,] may be judicially noticed.” Threshold Enters. Ltd. v. Pressed Juicery,

                                           6   Inc., 445 F. Supp. 3d 139, 146 (N.D. Cal. 2020) (internal citations omitted); Paralyzed Veterans

                                           7   of Am. v. McPherson, No. 06-cv-4670 SBA, 2008 WL 4183981, at *5 (N.D. Cal. Sept. 9, 2008).

                                           8   Courts have consistently found content from the FDA website to be a proper subject for judicial

                                           9   notice. See, e.g., id.; Eidson v. Medtronic, Inc., 981 F. Supp. 2d 868, 878–79 (N.D. Cal. 2013)

                                          10   (taking judicial notice of FDA database with medical device listings); Hansen Bev. Co. v.

                                          11   Innovation Ventures, No. 08-cv-1166-IEG (POR), 2009 WL 6597891, at *2 (S.D. Cal. Dec. 23,

                                          12   2009) (taking judicial notice of materials from the FDA website).
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                                          13          Exhibits 1A-1P and 2 are copies of publicly available FDA webpages from the FDA’s

                                          14   databases. Mayer Dec. ¶¶ 2-3. Exhibits 1A-1P show that Meril filed fifteen premarket

                                          15   notifications for several devices with the FDA and that the FDA found those devices

                                          16   “Substantially Equivalent.” See id. ¶ 2. Exhibit 2 is a copy of an FDA webpage explaining the

                                          17   510(k) Premarket Notification process, which states that once the FDA finds a device

                                          18   “Substantially Equivalent” it may be marketed in the United States. Id. ¶ 3. Exhibit 3 is a copy

                                          19   of a publicly available webpage published by Meril, which is incorporated into the FAC at

                                          20   paragraph 45. Id., ¶ 4. The Court may take judicial notice of these webpages and their contents

                                          21   as proper subjects of judicial notice.

                                          22          B. The Court may take judicial notice of presentations incorporated into the First
                                                         Amended Complaint.
                                          23
                                                      Slide presentations, which are not submitted for the truth of the matter asserted, are proper
                                          24
                                               subjects for judicial notice. See, e.g., In re Nektar Therapeutics, No. 18-cv-06607-HSG, 2020
                                          25
                                               WL 3962004, at *7 (N.D. Cal. July 13, 2020) (granting request for judicial notice for slide decks
                                          26
                                               that the plaintiff “refer[red] extensively to” as containing the alleged misrepresentations); In re
                                          27
                                               Century Aluminum Co. Sec. Litig., 749 F.Supp.2d 964, 979–80 (N.D. Cal. 2010) (granting request
                                          28

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                                           1   for judicial notice for slide deck presentations submitted to show the disclosure of information

                                           2   and not for the truth of the matter asserted).

                                           3          Under the doctrine of incorporation by reference, a court may consider certain documents

                                           4   as part of the complaint. In re Nektar Therapeutics, 2020 WL 3962004, at *7. A document is

                                           5   treated as “incorporated by reference into a complaint if the plaintiff refers extensively to the

                                           6   document or the document forms the basis of the plaintiff’s claim.” United States v. Ritchie, 342

                                           7   F.3d 903, 908 (9th Cir. 2003); see also, Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007)

                                           8   (stating a court may consider the referenced writing if the complaint relies on it and its

                                           9   authenticity is unquestioned). The court may consider the full text of such documents, even if the

                                          10   complaint relies only on selected portions. See In re Copper Mountain Sec. Litig., 311 F. Supp.

                                          11   2d 857, 865 (N.D. Cal. 2004).

                                          12          Exhibits 4 and 5 are presentations presented by Dr. Ashok Seth at the 2018 TCT
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                                          13   conference and the 2019 EuroPCR conference, respectively. Mayer Dec. ¶¶ 5,6. Meril produced

                                          14   both presentations to Plaintiff in discovery and the parties do not dispute their authenticity. Id.

                                          15   Plaintiff references and relies on the 2018 TCT presentation as its basis to assert its unfair

                                          16   competition claims, and specifically includes a graphic from Meril’s website that cites to the 2018

                                          17   TCT presentation. FAC ¶¶ 46 (first paragraph), 104. Plaintiff also references the publicly

                                          18   available 2019 EuroPCR presentation, and specifically includes a screenshot from a Meril

                                          19   YouTube video that cites to the 2019 EuroPCR presentation. FAC ¶¶ 46 (second paragraph), 51,

                                          20   96, 108. The Court may judicially notice these presentations and their contents, as being

                                          21   incorporated into the FAC.

                                          22          C. The Court may take judicial notice of dictionary definitions.

                                          23          Courts in the Ninth Circuit routinely take judicial notice of dictionary definitions. See,

                                          24   e.g., Threshold Enters., 445 F.Supp.3d at 146 (internal citations omitted) (finding that

                                          25   “[d]ictionary definitions are also a proper subject for judicial notice”); Rugg v. Johnson &

                                          26   Johnson, No. 17-cv-05010-BLF, 2018 WL 3023493, at *3 n.3 (N.D. Cal. June 18, 2018) (internal

                                          27   citations omitted). Exhibit 6 contains copies of the dictionary definitions for the words

                                          28   “accredit”/“accreditation” and “indigenous.” Mayer Dec. ¶ 7. Thus, the Court may take judicial

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                                           1   notice of these definitions as they are frequently the proper subject of judicial notice.

                                           2   II.    CONCLUSION

                                           3          For the foregoing reasons, Meril respectfully request that the Court take judicial notice of

                                           4   Exhibits 1-6 to the Mayer Declaration.

                                           5

                                           6   Dated: November 24, 2020                       FENWICK & WEST LLP
                                           7

                                           8                                                  By: /s/ Melanie Mayer
                                                                                                 Melanie Mayer
                                           9                                                     J. David Hadden
                                                                                                 Chieh Tung
                                          10

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